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                                                                   1   Jeremy V. Richards (CA Bar No. 102300)
                                                                       Teddy M. Kapur (CA Bar No. 242486)
                                                                   2   PACHULSKI STANG ZIEHL & JONES LLP
                                                                       10100 Santa Monica Blvd., 13th Floor
                                                                   3   Los Angeles, CA 90067
                                                                       Telephone: 310/277-6910
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                                                                       E-mail: jrichards@pszjlaw.com
                                                                   5            tkapur@pszjlaw.com

                                                                   6   Attorneys for Richard M. Pachulski,
                                                                       Plan Administrator and former Chapter 11
                                                                   7   Trustee for Randall William Blanchard

                                                                   8
                                                                                                    UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                             SANTA ANA DIVISION
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       In re:                                            Case No.: 8:14-bk-14105-SC
                                                                  12
                                                                       RANDALL WILLIAM BLANCHARD,                        Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                        Debtor.                          EIGHTH POST-CONFIRMATION STATUS
                                                                  14                                                     REPORT REGARDING FIFTH AMENDED
                                                                                                                         PLAN OF REORGANIZATION PROPOSED
                                                                  15                                                     BY CHAPTER 11 TRUSTEE FOR RANDALL
                                                                                                                         WILLIAM BLANCHARD; DECLARATION OF
                                                                  16                                                     RICHARD M. PACHULSKI IN SUPPORT
                                                                                                                         THEREOF
                                                                  17
                                                                                                                         Hearing Date
                                                                  18                                                     Date:       April 18, 2019
                                                                                                                         Time:       11:00 a.m.
                                                                  19                                                     Place:      Courtroom 5C
                                                                  20                                                                 411 West Fourth Street
                                                                                                                                     Santa Ana, California
                                                                  21                                                     Judge:      Honorable Scott C. Clarkson

                                                                  22

                                                                  23            Richard M. Pachulski, as the Plan Administrator (the “Plan Administrator”) for the

                                                                  24   bankruptcy estate of Randall William Blanchard (“Blanchard”), appointed pursuant to that certain

                                                                  25   Fifth Amended Plan of Reorganization Proposed by Chapter 11 Trustee for Randall William

                                                                  26   Blanchard [Docket No. 598] (the “Plan”), hereby submits his eighth post-confirmation status report

                                                                  27   with respect to the Plan (the “Report”) pursuant to Local Bankruptcy Rule 3020-1(b). The facts set

                                                                  28   forth herein are supported by the declaration of Richard M. Pachulski (the “Pachulski Declaration”)


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                                                                   1   filed in support hereof. All capitalized terms not otherwise defined herein shall have the same

                                                                   2   meaning as set forth in the Plan.

                                                                   3                                                         I.

                                                                   4                                       GENERAL STATUS OF PLAN

                                                                   5          The Effective Date of the Plan occurred on December 7, 2015. The Plan Administrator has

                                                                   6   not recovered additional funds since he filed the seventh post-confirmation status report on October

                                                                   7   11, 2018.

                                                                   8          The Plan Administrator currently has funds on hand of $266,527. Attached as Exhibit A

                                                                   9   hereto is a summary of the plan distributions, Plan Reserves, and unrestricted cash.

                                                                  10                                                      II.

                                                                  11                           OUTSTANDING ITEMS OF ADMINISTRATION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12          The Plan Administrator will file a motion with the Bankruptcy Court to obtain the entry of a
                                        LOS ANGELES, CALIFORNIA




                                                                  13   final decree after the disposition of all of the Assets and the completion of all Distributions
                                           ATTORNEYS AT LAW




                                                                  14   contemplated by the Plan. As discussed below, liquidating the Estate’s interests in the Seasmoke

                                                                  15   Projects is the primary task that remains to be completed. The timing of the disposition of the

                                                                  16   remaining Seasmoke Projects is uncertain so it is difficult to estimate the date for plan

                                                                  17   consummation and the final decree.

                                                                  18          A.      Seasmoke Projects: On the Effective Date of the Plan, the Estate held interests in

                                                                  19   the following Seasmoke Projects: (i) Loynes Beach Partners, LLC, (ii) Palm Canyon 65, LLC, (iii)

                                                                  20   Sand Dollar Cartwright, LLC, (iv) Sand Dollar Gillette, LLC, (v) Sand Dollar Barranca 1, LLC; (vi)

                                                                  21   Sand Dollar Barranca 2, LLC, (vii) Plenitude Holdings, LLC, and (viii) Black River Energy, LLC.

                                                                  22          Several of the Seasmoke Projects have been monetized or liquidated. Based on

                                                                  23   representations by Blanchard and other information received by the Plan Administrator, below is an

                                                                  24   update on the status of the remaining Seasmoke Projects:

                                                                  25          1.      Loynes Beach Partners, LLC – This project owns approximately 9 acres of land

                                                                  26   located at 400 Studebaker Road in Long Beach, California. Blanchard reported that Loynes Beach

                                                                  27   Partners is in escrow to sell the property for gross proceeds of $7,000,000. The parties have

                                                                  28   executed an amended purchase and sale agreement, and the sale is now projected to close on July 22,


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                                                                   1   2019. The agreement authorizes the buyer to purchase two thirty day extensions of the closing date

                                                                   2   for additional consideration.

                                                                   3             2.     Palm Canyon 65, LLC – This project owned approximately 12.65 acres of land in

                                                                   4   downtown Palm Springs, California. The property was sold and did not generate a recovery for the

                                                                   5   Estate.

                                                                   6             3.     Plenitude Holdings, LLC – This project holds a long term lease of approximately 175

                                                                   7   acres of land owned by the City of Los Angeles that is currently used as the Victoria Golf Course in

                                                                   8   Carson, California. Blanchard and an institutional investor are attempting to repurpose and develop

                                                                   9   the project as a sports and entertainment facility.

                                                                  10             4.     Sand Dollar Cartwright, LLC – This project owned approximately 1.7 acres of land

                                                                  11   and an accompanying commercial office building in Irvine, California. The property was sold and
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                                                                  12   did not generate a recovery for the Estate.
                                        LOS ANGELES, CALIFORNIA




                                                                  13             5.     Sand Dollar Gillette, LLC – This project owned approximately 2.4 acres of land in
                                           ATTORNEYS AT LAW




                                                                  14   Irvine, California that was sold and did not generate an immediate return for the Estate. Sand Dollar

                                                                  15   Gillette, however, holds a residual profit participation interest in the project, and Blanchard, the

                                                                  16   Oversight Committee and the Plan Administrator are evaluating whether the residual interest has any

                                                                  17   value for the Estate.

                                                                  18             The Plan Administrator continues to monitor the status of the Seasmoke Projects and is in

                                                                  19   regular communication with Blanchard and the Oversight Committee.

                                                                  20                    B.     Temecula Oaks Appeal: On November 20, 2015, Temecula Oaks Partners

                                                                  21   LP (“Temecula Oaks”) appealed the Court’s order granting the Plan Administrator’s Motion to

                                                                  22   Disallow Claim No. 7 of Temecula Oaks Partners LP [Docket No. 473]. The appeal was transferred

                                                                  23   from the Bankruptcy Appellate Panel to the United States District Court for the Central District of

                                                                  24   California, Southern Division (the “District Court”), bearing case number 8:15-cv-01943-JAK. On

                                                                  25   April 24, 2017, the District Court affirmed this Court’s decision, and on May 23, 2017, Temecula

                                                                  26   Oaks filed a Notice of Appeal to the United States Court of Appeals for the Ninth Circuit (the “Ninth

                                                                  27   Circuit”). The Ninth Circuit heard oral arguments on November 8, 2018, and on February 26, 2019,

                                                                  28   it issued a memorandum decision affirming the District Court’s decision.


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                                                                   1                                                    III.

                                                                   2                                                SERVICE

                                                                   3          Pursuant to the Paragraph 26 of the Order Confirming Fifth Amended Plan of Reorganization

                                                                   4   Proposed By Chapter 11 Trustee For Debtor Randall William Blanchard [Docket No. 637], this

                                                                   5   Report will be served on Blanchard and his bankruptcy counsel, the Oversight Committee and its

                                                                   6   counsel, the Office of the United States Trustee, Holders of Allowed and unpaid Administrative

                                                                   7   Claims, Priority Tax Claims, and Other Priority Claims, and any other party in interest in the

                                                                   8   Chapter 11 Case that specifically requests in writing that the Plan Administrator add such party’s

                                                                   9   name to the list.

                                                                  10                                                    IV.

                                                                  11                                             CONCLUSION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12          The Plan Administrator requests that the Court set a further status conference with respect to
                                        LOS ANGELES, CALIFORNIA




                                                                  13   the Plan in approximately 180 days, with an updated status report to be filed no later than fourteen
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                                                                  14   days before the hearing date.

                                                                  15   DATED: April 4, 2019                         PACHULSKI STANG ZIEHL & JONES LLP

                                                                  16
                                                                                                                    By:        /s/ Teddy M. Kapur
                                                                  17                                                           Teddy M. Kapur
                                                                  18                                                Attorneys for Richard M. Pachulski,
                                                                                                                    Plan Administrator and former Chapter 11
                                                                  19                                                Trustee for Randall William Blanchard
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                                                                   1                                             EXHIBIT A
                                                                   2

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P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




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                                                          Distributions Made to General Unsecured Creditors


                                          Amount of      1st Interim    2nd Interim    3rd Interim    4th Interim    5th Interim    6th Interim
Claimant                                Allowed Claim    Distribution   Distribution   Distribution   Distribution   Distribution   Distribution      Total

Snell & Wilmer L.L.P.                       56,278.09       25,000.00            -              -              -              -              -        25,000.00

Norris (South Lake Villas)                2,085,000.00    378,424.25      96,602.01     101,686.32       50,843.16      30,505.90      22,879.42     680,941.06

Wells Fargo Bank (credit card)              50,333.20        9,135.40      2,332.03       2,454.77        1,227.39         736.43         552.32      16,438.34

MB Bona / National Servicing, LLC        15,851,658.00   2,877,051.21    734,437.41     773,092.01     386,546.00     231,927.60     173,945.70    5,176,999.94

Capital One Bank (USA), N.A.                  2,970.10        539.07         137.61         144.85           72.43          43.46          32.59         970.01

Merrill Lynch American Express              54,270.83        9,850.07      2,514.47       2,646.81        1,323.41         794.04         595.53      17,724.33

Integrated Financial Associates, Inc.     2,460,000.00    446,486.16     113,976.47     119,975.23       59,987.62      35,992.57      26,994.43     803,412.48

                                         20,560,510.22   3,746,486.16     950,000.00   1,000,000.00     500,000.00     300,000.00     225,000.00    6,721,486.16




Cash on Hand                                                                                                                                       $266,527
Plan Reserves
 Post-confirmation legal & professional fees                                                                                                       (200,000)
 Post-confirmation tax services                                                                                                                     (30,000)
 Post-confirmation document storage                                                                                                                  (5,000)
 US Trustee Fees                                                                                                                                    (25,000)
                                                                                                                                                   (260,000)

Cash Available for Distribution                                                                                                                       $6,527
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                                                                   1                                DECLARATION OF RICHARD M. PACHULSKI

                                                                   2             I, Richard M. Pachulski, declare as follows:

                                                                   3             1.     I am an attorney licensed to practice before this Court, and a partner with the law firm

                                                                   4   of Pachulski Stang Ziehl & Jones LLP. I am also the duly appointed and acting Plan Administrator

                                                                   5   for the estate of Randall William Blanchard in the bankruptcy case captioned In re: Randall William

                                                                   6   Blanchard, Case No.: 8:14-BK-14105. Prior to being appointed the Plan Administrator pursuant to

                                                                   7   the confirmed plan of reorganization in the case, I served as the Chapter 11 Trustee for the

                                                                   8   Blanchard bankruptcy estate from January 9, 2015 until December 7, 2015, which was the effective

                                                                   9   date of the plan.

                                                                  10             2.     In my capacity as the Plan Administrator for the Estate, I make this declaration in

                                                                  11   support of the Eighth Post-Confirmation Status Report Regarding Fifth Amended Plan of
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Reorganization Proposed by Chapter 11 trustee for Randall William Blanchard (the “Report”). All
                                        LOS ANGELES, CALIFORNIA




                                                                  13   capitalized terms not otherwise defined herein shall have the same meaning as set forth in the
                                           ATTORNEYS AT LAW




                                                                  14   Report.

                                                                  15             3.     I have not recovered additional funds since I filed the seventh post-confirmation

                                                                  16   status report on October 11, 2018.

                                                                  17             4.     I currently have funds on hand of $266,527. Attached as Exhibit A to the Report is a

                                                                  18   summary of the plan distributions, Plan Reserves, and unrestricted cash.

                                                                  19             5.     I will file a motion with the Bankruptcy Court to obtain the entry of a final decree

                                                                  20   after the disposition of all of the Assets and the completion of all Distributions contemplated by the

                                                                  21   Plan. Liquidating the Estate’s interests in the Seasmoke Projects is the primary task that remains to

                                                                  22   be completed. The timing of the disposition of the remaining Seasmoke Projects is uncertain so it is

                                                                  23   difficult to estimate the date for plan consummation and the final decree.

                                                                  24             6.     My counsel and I continue to monitor the status of the Seasmoke Projects, and we are

                                                                  25   in regular communication with Blanchard and the Oversight Committee.

                                                                  26   ##

                                                                  27   ##

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 1           To the best of my knowledge, I declare under penalty of perjury under the laws of the State
2    of California that the foregoing is true and correct.

3            Executed this^day of April 2019, at Los Angeles, California.
4

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                                                             Richard M. Pachulski
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                                                                   1                                          PROOF OF SERVICE OF DOCUMENT

                                                                   2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                                                       address is:
                                                                   3   10100 Santa Monica Blvd., #1300, Los Angeles, CA 90067
                                                                   4   A true and correct copy of the foregoing document entitled (specify): EIGHTH POST-CONFIRMATION
                                                                       STATUS REPORT REGARDING FIFTH AMENDED PLAN OF REORGANIZATION
                                                                   5   PROPOSED BY CHAPTER 11 TRUSTEE FOR RANDALL WILLIAM BLANCHARD;
                                                                       DECLARATION OF RICHARD M. PACHULSKI IN SUPPORT THEREOF will be served or was
                                                                   6   served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
                                                                       manner stated below:
                                                                   7
                                                                       1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
                                                                   8   General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
                                                                       document. On (date) April 4, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary
                                                                   9   proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
                                                                       transmission at the email addresses stated below:
                                                                  10                                                                           Service information continued on attached page.
                                                                  11   2. SERVED BY UNITED STATES MAIL:
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       On April 4, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy
                                                                  12   case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
                                        LOS ANGELES, CALIFORNIA




                                                                       States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
                                                                  13
                                           ATTORNEYS AT LAW




                                                                       declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
                                                                  14   Mr. Jack Rendell                                                       Richard A. Burt, II
                                                                       Benefit National Property Management Inc.                              Portfolio Manager
                                                                  15   29995 Technology Drive, #105                                           National Servicing, LLC
                                                                       Murrieta CA 92563                                                      420 S. Orange Avenue, Suite 220
                                                                  16                                                                          Orlando, FL 32801
                                                                  17
                                                                                                                                                         Service information continued on attached pg.
                                                                  18
                                                                       3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
                                                                       (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
                                                                  19
                                                                       (date) April 4, 2019, I served the following persons and/or entities by personal delivery, overnight mail
                                                                       service, or (for those who consented in writing to such service method), by facsimile transmission and/or
                                                                  20
                                                                       email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail
                                                                       to, the judge will be completed no later than 24 hours after the document is filed.
                                                                  21
                                                                       Via Federal Express:
                                                                  22
                                                                       Hon. Scott Clarkson
                                                                       United States Bankruptcy Court
                                                                  23
                                                                       411 W. Fourth Street, Courtroom 5-C
                                                                       Santa Ana, CA 92701
                                                                  24
                                                                                                                                                         Service information continued on attached pg.
                                                                  25
                                                                       I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
                                                                  26
                                                                        April 4, 2019                            Diane H. Hinojosa                              /s/ Diane H. Hinojosa
                                                                        Date                           Printed Name                                             Signature
                                                                  27

                                                                  28
                                                                       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
                                                                       June 2012                                                             F 9013-3.1.PROOF.SERVICE
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                                                                   1   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

                                                                   2            Reem J Bello rbello@wgllp.com,
                                                                                 kadele@wgllp.com;vrosales@wgllp.com;cyoshonis@wgllp.com;cbmeeker@gmail.com
                                                                   3
                                                                                Jess R Bressi jess.bressi@dentons.com, kimberly.sigismondo@dentons.com
                                                                   4            Frank Cadigan frank.cadigan@usdoj.gov
                                                                                Greg P Campbell ch11ecf@aldridgepite.com,
                                                                   5             gc@ecf.inforuptcy.com;gcampbell@aldridgepite.com
                                                                                Candace Carlyon ccarlyon@clarkhill.com,
                                                                   6             Crobertson@clarkhill.com;nrodriguez@clarkhill.com
                                                                                Paul B George , beldingt@lanepowell.com
                                                                   7
                                                                                Paul B George docketing-pdx@lanepowell.com, beldingt@lanepowell.com
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                                                                                 kadele@wgllp.com;vrosales@lwgfllp.com;cbmeeker@gmail.com
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                                                                                Jeffrey M Goldman goldmanj@pepperlaw.com, allenjs@pepperlaw.com
                                                                  10            Jacob C Gonzales jgonzales@weintraub.com,
                                                                                 gwaldron@weintraub.com;lgraham@weintraub.com;autodocket@weintraub.com;shamada@
                                                                  11
                                                                                 weintraub.com
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                                                                  12            Matthew Grimshaw mgrimshaw@marshackhays.com,
                                                                                 8649808420@filings.docketbird.com
                                        LOS ANGELES, CALIFORNIA




                                                                  13            Christopher H Hart chart@schnader.com, nwhite@schnader.com
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                                                                                Garrick A Hollander ghollander@wcghlaw.com,
                                                                  14             pj@wcghlaw.com;jmartinez@wcghlaw.com;Meir@virtualparalegalservices.com
                                                                                Teddy M Kapur tkapur@pszjlaw.com
                                                                  15
                                                                                Ori Katz okatz@sheppardmullin.com,
                                                                  16             cshulman@sheppardmullin.com;ezisholtz@sheppardmullin.com
                                                                                Alan J Kessel kessela@pepperlaw.com, philipsj@pepperlaw.com
                                                                  17            Jeannie Kim jkim@buchalter.com, docket@buchalter.com
                                                                                Kay S Kress kressk@pepperlaw.com, henrys@pepperlaw.com
                                                                  18            Adam J McNeile adam@kbklegal.com, sean@kbklegal.com
                                                                                Randall P Mroczynski randym@cookseylaw.com
                                                                  19
                                                                                Brett Ramsaur brett@ramsaurlaw.com, martha.araki@gmail.com;info@ramsaurlaw.com
                                                                  20            Jeremy V Richards jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
                                                                                Todd C. Ringstad becky@ringstadlaw.com, arlene@ringstadlaw.com
                                                                  21            Michael G Spector mgspector@aol.com, mgslawoffice@aol.com
                                                                                United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
                                                                  22            Marc J Winthrop mwinthrop@wcghlaw.com, pj@wcghlaw.com;jmartinez@wcghlaw.com
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                                                                       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
                                                                       June 2012                                                             F 9013-3.1.PROOF.SERVICE
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